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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
HADI ABUATELAH,                                     )
                                                    )
Plaintiff,                                          ) No.22CV03998
                                                    )
v.                                                  )
                                                    ) JURY DEMANDED
CHIEF OF OAK LAWN POLICE DANIEL                     )
VITTORIO, OFFICER B. COLLINS, OFFICER P. O’DONNELL, )
OFFICER B.P. CARLSON, and THE VILLAGE OF            )
OAK LAWN,                                           )
Defendants.                                         )
                            NOTICE OF FILING

       On 08/25/22, Plaintiff Hadi Abuatelah caused to be filed with the Clerk of the District
Court of Northern District of Illnois his First Amended Complaint.



                                  CERTIFICATE OF SERVICE
I, the undersigned, an attorney, state that I have served by The attached First Amended
Complaint by emailing a copy to Kevin Casey kcasey@pjmchicago.com on 8/25/22.


/s/ Zaid Abdallah
Zaid Abdallah
Attorney for Defendant
16345 Harlem Ave Suite 250
Tinley Park Illinois 60477
312.229.0008
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                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HADI ABUATELAH                 )
                 Plaintiff     )
                               )                       No. 22 CV 03998
v.                             )
                               )                       Judge Steven Seeger
CHIEF OF OAKLAWN POLICE DANIEL )
VITTORIO, OFFICER ONE, OFFICER )
TWO, OFFICER THREE AND THE     )
VILLAGE OF OAK LAWN            )

                       Defendants

    AGREED MOTION FOR ENTRY OF AN AGREED PROTECTIVE ORDER

   Plaintiff, Hadi Abuatelah (Plaintiff), moves this Court to enter the attached agreed protective

order in support of which, states as follows:

   1. Plaintiff seeks the entry of the attached proposed agreed protective order as they expect

both parties to seek and exchange sensitive materials during discovery. See Exhibit A. Plaintiff

adopted the Model Confidentiality Order under Local Rule 26.2, with modifications.

   2. The parties anticipate exchanging medical documents which are protected by 45 C.F.R

164.512. Additionally, the medical documents that are going to be exchange are sensitive and

should only be used for this litigation.

   3. The parties anticipate exchanging personnel records of the Defendant officers. These are

documents that contain personal information that would not otherwise be available to the public

and, therefore, should only be used for this litigation.

   4. Counsels for Plaintiff and Defendant have conferred on the language contained in the

attached proposed order.
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   5. In conformity with the Court’s case procedures, Plaintiff emailed the attached order in

Word format to Proposed_Order_Seeger@ilnd.uscourts.gov.

      WHEREFORE, Plaintiff Hadi Abuatelah respectfully requests that this Court enter the

attached agreed order and grant whatever other and further relief this Court deems reasonable

and equitable.




By /s/ Zaid Abdallah
Attorney for the Plaintiff
Zaid Abdallah
Abdallah Law
16345 Harlem Ave Suite 250
Tinley Park Illinois 60477
312.229.0008
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                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HADIABUATELAH                                 )
                       Plaintiff              )
                                              )       No. 22 CV 03998
V.                                            )
                               )                      Judge Steven Seeger
CHIEF OF OAKLAWN POLICE DANIEL )
VITTORIO, OFFICER ONE, OFFICER )
TWO, OFFICER THREE AND THE      )
VILLAGE OF OAK LAWN            )


                       Defendants

                               AGREED PROTECTIVE ORDER

         Pursuant to Rule 26 (c) of the Federal Rules of Civil Procedure and 45 C.F.R 164.512

 (e) 1, the Court finds good cause for the issuance of the parties Agreed Protective Order

accordingly, it is ORDERED:

         1.     Scope. All materials produced or adduced in the course of discovery, including

 initial disclosures, responses to discovery requests, deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collective "documents"), shall

be subject to this Order concerning Confidential Information as defined below. This Order is

subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters of

procedure and calculation of time periods.


        2.      Confidential Information. As used in this Order, "Confidential Information"

means information designated as "CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER"

by the producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by statute; (b) medical information concerning any individual

                                                  1
                                                                        EXHIBIT A
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including but not limited to medical record and bills; (c) personal identity information; (d)

income tax returns (including attached schedules and forms), W-2 forms and 1099 forms; or (e)

personnel or employment records of any person including parties to this suit. Information or

documents that are available to the public may not be designated as Confidential

Information.

        3.     Designation.

               (a)     A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER" on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, "copies"

includes electronic images, duplicates, extracts, summaries or descriptions that contain


the Confidential Information. The marking "CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER" shall be applied prior to or at the time of the documents are produced or disclosed.

Applying the marking "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" to a

document does not mean that the document has any status or protection by statute or otherwise

except to the extent and for the purposes of this Order. Any copies that are made of any

documents marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" shall also be

so marked, except that indices, electronic databases or lists of documents that do not contain

substantial portions or images of the text of marked documents and do not otherwise disclose

the substance of the Confidential Information are not required to be marked.

               (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order.
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         4.     Depositions.

         Deposition testimony is protected by this Order only if designated as

 "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the record at the time

 the testimony is taken. Such designation shall be specific as to the portions that contain

Confidential Information. Deposition testimony so designated shall be treated as Confidential

Information protected by this Order until fourteen days after delivery of the transcript by the court

reporter to any party or the witness. Within fourteen days after delivery of the transcript, a

designating party may serve a Notice of Designation to all parties of record identifying the specific

portions of the transcript that are designated Confidential Information, and thereafter those

portions identified in the Notice of Designation shall be protected under the terms of this Order.

The failure to serve a timely Notice of Designation waives any designation of deposition

testimony as Confidential Information that was made on the record of the deposition, unless

otherwise ordered by the Court.

        5.      Protection of Confidential Material.

                (a)    General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

[INCLUDE IN PUTATIVE CLASS ACTION CASE: In a putative class action, Confidential

Information may be disclosed only to the named plaintiff(s) and not to any other member of the

putative class unless and until a class including the putative member has been certified.]

               (b)     Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (I )-(9). Subject to these requirements, the

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following categories of persons may be allowed to review Confidential Information:

              (1)    Counsel. Counsel for the parties and employees of counsel who have
                     responsibility for the action;

              (2)    Parties. Individual parties and employees of a party but only to the extent
                     counsel determines in good faith that the employee's assistance is
                     reasonably necessary to the conduct of the litigation
                     in which the information is disclosed;

              (3)    The Court and its personnel;

              (4)    Court Reporters and Recorders. Court reporters and recorders
                     engaged for depositions;

              (5)    Contractors. Those persons specifically engaged for the limited purpose
                     of making copies of documents or organizing or processing documents,
                     including outside vendors hired to process electronically stored
                     documents;

              6)     Consultants and Experts. Consultants, investigators, or experts
                     employed by the parties or counsel for the parties to assist in the
                     preparation and trial of this action but only after such persons have
                     completed the certification contained in Attachment A, Acknowledgment
                     of Understanding and Agreement to Be Bound;

              (7)    Witnesses at depositions. During their depositions, witnesses in this
                     action to whom disclosure is reasonably necessary. Witnesses shall not
                     retain a copy of documents containing Confidential Information, except
                     witnesses may receive a copy of all exhibits marked at their depositions in
                     connection with review of the transcripts. Pages of transcribed deposition
                     testimony or exhibits
                     to depositions that are designated as Confidential Information pursuant
                     to the process set out in this Order must be separately bound by the
                     court reporter and may not be disclosed to anyone except as permitted
                     under this Order.

             (8)     Author or recipient. The author or recipient of the document (not
                     including a person who received the document in the course oflitigation);
                     and

             (9)     Others by Consent. Other persons only by written consent of the
                     producing party or upon order of the Court and on such conditions as
                     may be agreed or ordered.


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                (c)     Control of Documents. Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

Information. Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the

termination of the case.

        6.      Inadvertent Failure to Designate.     An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as

Confidential Information after it was initially produced, the receiving party, on notification of the

designation, must make a reasonable effort to assure that the document is

treated in accordance with the provisions of this Order. No party shall be found to have violated

this Order for failing to maintain the confidentiality of material during a time when that material

has not been designated Confidential Information, even where the failure to so designate was

inadvertent and where the material is subsequently designated Confidential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

                                                 5
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order providing such special protection.

        9.       Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge

by any party. The following procedure shall apply to any such challenge.

                 (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis

for its belief that the confidentiality designation was not

proper and must give the designating party an opportunity to review the designated material,

to reconsider the designation, and, if no change in designation is offered, to explain the basis

for the designation. The designating party must respond to the challenge within five (5)

business days.

                 (b)    Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms ofthis Order.

       I 0.      Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in

this Order or any action or agreement of a party under this Order limits the Court's power to

make orders concerning the disclosure of documents produced in discovery or at trial.

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         11.    Use of Confidential Documents or Information at Trial. Nothing in this Order

 shall be construed to affect the use of any document, material, or information at any trial or

 hearing. A party that intends to present or that anticipates that another party may present

 Confidential information at a hearing or trial shall bring that issue to the Court's and parties'

 attention by motion or in a pretrial memorandum without disclosing

the Confidential Information. The Court may thereafter make such orders as are

necessary to govern the use of such documents or information at trial.

        12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

                (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the

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expense of seeking protection in that court of its Confidential Information, and nothing

in these provisions should be construed as authorizing or encouraging a receiving party in this

action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control Confidential

Information by the other party to this case.

          13.   Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

          14.   Obligations on Conclusion of Litigation.

                (a)     Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                (b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" under this

Order, including copies as defined in ,r 3(a), shall be returned to the producing party unless: (I)

the document has been offered into evidence or filed

without restriction as to disclosure; (2) the parties agree to destruction to the extent

practicable in lieu of return; or (3) as to documents bearing the notations, summations,

or other mental impressions of the receiving party, that party elects to destroy the

documents and certifies to the producing party that it has done so.



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               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (l)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent

litigation, provided that its use does not disclose or use Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of

the Court.

       15.     Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other

person with standing concerning the subject matter.

       16.     No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.




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         17.   Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the pa1iies, and persons made subject to this

Order by its te1ms.

         So Ordered.



Dated:
                                             U.S. District Judge




 WE SO MOVE                              WE SO MOVE
 and agree to abide by the               and agree to abide by the
 terms of this Order                     terms of this Order

/s/ Zaid Abdallah                         /s/ Kevin M. Casey
 Signature                                 Signature


 Zaid Abdallah                          Kevin M. Casey
 Printer Name                           Printed Name


 Counsel for Plaintiff                 Counsel for The Village of Oak Lawn
                                       And Daniel Vittorio

 Dated: 8/24/22                        Dated: 8/24/22




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                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HADIABUATELAH                                 )
                       Plaintiff              )
                                              )       No. 22 CV 03998
V.                                            )
                               )                      Judge Steven Seeger
CHIEF OF OAKLAWN POLICE DANIEL )
VITTORIO, OFFICER ONE, OFFICER )
TWO, OFFICER THREE AND THE      )
VILLAGE OF OAK LAWN            )


                       Defendants

                               AGREED PROTECTIVE ORDER

         Pursuant to Rule 26 (c) of the Federal Rules of Civil Procedure and 45 C.F.R 164.512

 (e) 1, the Court finds good cause for the issuance of the parties Agreed Protective Order

accordingly, it is ORDERED:

         1.     Scope. All materials produced or adduced in the course of discovery, including

 initial disclosures, responses to discovery requests, deposition testimony and

exhibits, and information derived directly therefrom (hereinafter collective "documents"), shall

be subject to this Order concerning Confidential Information as defined below. This Order is

subject to the Local Rules of this District and the Federal Rules of Civil Procedure on matters of

procedure and calculation of time periods.


        2.      Confidential Information. As used in this Order, "Confidential Information"

means information designated as "CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER"

by the producing party that falls within one or more of the following categories: (a) information

prohibited from disclosure by statute; (b) medical information concerning any individual

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including but not limited to medical record and bills; (c) personal identity information; (d)

income tax returns (including attached schedules and forms), W-2 forms and 1099 forms; or (e)

personnel or employment records of any person including parties to this suit. Information or

documents that are available to the public may not be designated as Confidential

Information.

        3.     Designation.

               (a)     A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER" on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, "copies"

includes electronic images, duplicates, extracts, summaries or descriptions that contain


the Confidential Information. The marking "CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER" shall be applied prior to or at the time of the documents are produced or disclosed.

Applying the marking "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" to a

document does not mean that the document has any status or protection by statute or otherwise

except to the extent and for the purposes of this Order. Any copies that are made of any

documents marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" shall also be

so marked, except that indices, electronic databases or lists of documents that do not contain

substantial portions or images of the text of marked documents and do not otherwise disclose

the substance of the Confidential Information are not required to be marked.

               (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains

Confidential Information as defined in this order.
                                                2
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         4.     Depositions.

         Deposition testimony is protected by this Order only if designated as

 "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the record at the time

 the testimony is taken. Such designation shall be specific as to the portions that contain

Confidential Information. Deposition testimony so designated shall be treated as Confidential

Information protected by this Order until fourteen days after delivery of the transcript by the court

reporter to any party or the witness. Within fourteen days after delivery of the transcript, a

designating party may serve a Notice of Designation to all parties of record identifying the specific

portions of the transcript that are designated Confidential Information, and thereafter those

portions identified in the Notice of Designation shall be protected under the terms of this Order.

The failure to serve a timely Notice of Designation waives any designation of deposition

testimony as Confidential Information that was made on the record of the deposition, unless

otherwise ordered by the Court.

        5.      Protection of Confidential Material.

                (a)    General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

[INCLUDE IN PUTATIVE CLASS ACTION CASE: In a putative class action, Confidential

Information may be disclosed only to the named plaintiff(s) and not to any other member of the

putative class unless and until a class including the putative member has been certified.]

               (b)     Limited Third-Party Disclosures. The parties and counsel for the

parties shall not disclose or permit the disclosure of any Confidential Information to any third

person or entity except as set forth in subparagraphs (I )-(9). Subject to these requirements, the

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following categories of persons may be allowed to review Confidential Information:

              (1)    Counsel. Counsel for the parties and employees of counsel who have
                     responsibility for the action;

              (2)    Parties. Individual parties and employees of a party but only to the extent
                     counsel determines in good faith that the employee's assistance is
                     reasonably necessary to the conduct of the litigation
                     in which the information is disclosed;

              (3)    The Court and its personnel;

              (4)    Court Reporters and Recorders. Court reporters and recorders
                     engaged for depositions;

              (5)    Contractors. Those persons specifically engaged for the limited purpose
                     of making copies of documents or organizing or processing documents,
                     including outside vendors hired to process electronically stored
                     documents;

              6)     Consultants and Experts. Consultants, investigators, or experts
                     employed by the parties or counsel for the parties to assist in the
                     preparation and trial of this action but only after such persons have
                     completed the certification contained in Attachment A, Acknowledgment
                     of Understanding and Agreement to Be Bound;

              (7)    Witnesses at depositions. During their depositions, witnesses in this
                     action to whom disclosure is reasonably necessary. Witnesses shall not
                     retain a copy of documents containing Confidential Information, except
                     witnesses may receive a copy of all exhibits marked at their depositions in
                     connection with review of the transcripts. Pages of transcribed deposition
                     testimony or exhibits
                     to depositions that are designated as Confidential Information pursuant
                     to the process set out in this Order must be separately bound by the
                     court reporter and may not be disclosed to anyone except as permitted
                     under this Order.

             (8)     Author or recipient. The author or recipient of the document (not
                     including a person who received the document in the course oflitigation);
                     and

             (9)     Others by Consent. Other persons only by written consent of the
                     producing party or upon order of the Court and on such conditions as
                     may be agreed or ordered.


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                (c)     Control of Documents. Counsel for the parties shall make

reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

Information. Counsel shall maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the

termination of the case.

        6.      Inadvertent Failure to Designate.     An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as

Confidential Information after it was initially produced, the receiving party, on notification of the

designation, must make a reasonable effort to assure that the document is

treated in accordance with the provisions of this Order. No party shall be found to have violated

this Order for failing to maintain the confidentiality of material during a time when that material

has not been designated Confidential Information, even where the failure to so designate was

inadvertent and where the material is subsequently designated Confidential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize

the filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground

that it requires protection greater than that afforded by this Order unless the party moves for an

                                                 5
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order providing such special protection.

        9.       Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge

by any party. The following procedure shall apply to any such challenge.

                 (a)    Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis

for its belief that the confidentiality designation was not

proper and must give the designating party an opportunity to review the designated material,

to reconsider the designation, and, if no change in designation is offered, to explain the basis

for the designation. The designating party must respond to the challenge within five (5)

business days.

                 (b)    Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms ofthis Order.

       I 0.      Action by the Court. Applications to the Court for an order relating to

materials or documents designated Confidential Information shall be by motion. Nothing in

this Order or any action or agreement of a party under this Order limits the Court's power to

make orders concerning the disclosure of documents produced in discovery or at trial.

                                                 6
     Case: 1:22-cv-03998 Document #: 9 Filed: 08/25/22 Page 20 of 23 PageID #:55


         11.    Use of Confidential Documents or Information at Trial. Nothing in this Order

 shall be construed to affect the use of any document, material, or information at any trial or

 hearing. A party that intends to present or that anticipates that another party may present

 Confidential information at a hearing or trial shall bring that issue to the Court's and parties'

 attention by motion or in a pretrial memorandum without disclosing

the Confidential Information. The Court may thereafter make such orders as are

necessary to govern the use of such documents or information at trial.

        12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

                (a)     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

               (b)     The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

               (c)     The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the

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expense of seeking protection in that court of its Confidential Information, and nothing

in these provisions should be construed as authorizing or encouraging a receiving party in this

action to disobey a lawful directive from another court. The obligations set forth in this

paragraph remain in effect while the party has in its possession, custody or control Confidential

Information by the other party to this case.

          13.   Challenges by Members of the Public to Sealing Orders. A party or

interested member of the public has a right to challenge the sealing of particular documents

that have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

          14.   Obligations on Conclusion of Litigation.

                (a)     Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                (b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" under this

Order, including copies as defined in ,r 3(a), shall be returned to the producing party unless: (I)

the document has been offered into evidence or filed

without restriction as to disclosure; (2) the parties agree to destruction to the extent

practicable in lieu of return; or (3) as to documents bearing the notations, summations,

or other mental impressions of the receiving party, that party elects to destroy the

documents and certifies to the producing party that it has done so.



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               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (l)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent

litigation, provided that its use does not disclose or use Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of

the Court.

       15.     Order Subject to Modification. This Order shall be subject to

modification by the Court on its own initiative or on motion of a party or any other

person with standing concerning the subject matter.

       16.     No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.




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         17.   Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the pa1iies, and persons made subject to this

Order by its te1ms.

         So Ordered.



Dated:
                                             U.S. District Judge




 WE SO MOVE                              WE SO MOVE
 and agree to abide by the               and agree to abide by the
 terms of this Order                     terms of this Order

/s/ Zaid Abdallah                         /s/ Kevin M. Casey
 Signature                                 Signature


 Zaid Abdallah                          Kevin M. Casey
 Printer Name                           Printed Name


 Counsel for Plaintiff                 Counsel for The Village of Oak Lawn
                                       And Daniel Vittorio

 Dated: 8/24/22                        Dated: 8/24/22




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